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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW HAMPSHIRE


Humberto E. Angulo-Mero

      v.                                        Case No. 24-cv-002-LM-TSM

FCI Berlin, Warden


                                  ORDER

     No objection having been filed, I herewith approve the Endorsed

Report and Recommendation of Magistrate Judge Talesha Saint-Marc dated

May 15, 2024. Accordingly, this case is dismissed without prejudice

for failure to prosecute, and the pending dispositive motion (doc. no.

3), is denied without prejudice as moot. “‘[O]nly those issues fairly

raised by the objections to the magistrate's report are subject to

review in the district court and those not preserved by such objection

are precluded on appeal.’”   School Union No. 37 v. United Nat'l Ins.

Co., 617 F.3d 554, 564 (1st Cir. 2010) (quoting Keating v. Secretary

of Health & Human Servs., 848 F.2d 271, 275 (1st Cir.1988)); see also

United States v. Valencia-Copete, 792 F.2d 4, 6 (1st Cir. 1986) (after

proper notice, failure to file a specific objection to magistrate's

report will waive the right to appeal).


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                                          Landya B. McCafferty
                                          United States District Judge

Date: July 2, 2024


cc: Humberto E. Angulo-Mero, pro se
    Counsel of Record
